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Javier Torres (271538)

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Attorneys for HKB, Inc., dba Southwest Industrial Rigging

UNITED STATES DISTRICT COURT

DISTRICT OF CALIFORNIA
CARPENTERS SOUTHWEST No. 2:16-cv-08040-WMF-SK
ADMINISTRATIVE CORPORATION, a
California non-profit corporation; and DECLARATION ()F JAMES
BOARD OF TRUSTEES FOR THE DOUGLAS WILSON

CARPENTERS SOUTHWEST TRUSTS,

Plaintiffs,

V_ Assigned to Hon. Michael W. Fitzgerald

HKB, INC., an Arizona corporation, doing
business as SOUTHWEST INDUSTRIAL
RIGGING; HARRY KENT BAKER, an
individual; SCOTT WILLIAM MILLER, an
individual; JAMES DOUGLAS WILSON,
an individual,

 

Defendants.

 

I, James Douglas Wilson, declare as follows:

1. I am the Chief Financial Offlcer of HKB, Inc. I submit this declaration for
the sole purpose of supporting Southwest’s motion to dismiss this lawsuit based upon

forum non conveniens.

2. HKB, Inc. is an Arizona corporation doing business in Arizona as
Southwest Industrial Rigging (“Southwest”), with its principal place of business at 2802
W. Palm Ln., Phoenix, AZ 85009.

3. Southwest has four office locations, all of which are in Arizona: two in
Phoenix, one in Flagstaff, and one in Tucson.

4. Southwest works in the construction industry and has a construction
license, but it is only licensed in Arizona, not California.

5. Southwest does not own or lease any property in California.

CORE/3008422.0002/l30448125. l

 

 

 

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6. Southwest has no staff in California.

7. Southwest does not have a Califomia bank account, mailing address, post
office box, statutory agent, or telephone number, nor does it advertise or otherwise
solicit work in Califomia.

8. Southwest works almost exclusively in Arizona.

9. In the last three years, Southwest has had only one contract in California.
That transaction was for 315,000, involving three employees working less than three
days.

10. Southwest is a multi-million-dollar entity with approximately 200
employees, so that transaction constituted less than l% of Southwest’s annual work.

ll. Southwest has never been party to a lawsuit in Calif`ornia.

12. Southwest performs construction-related maintenance and repair work at
the Palo Verde Nuclear Generating Station just west of Phoenix (the “Power Plant”)
twice a year for 4-6 weeks at a time.

13. Southwest had previously used carpenters provided by the Construction
Union to supplement its workforce for the maintenance and repair work at the Power
Plant, but Southwest had never been required to sign a long-term union contract.

14. Southwest simply employed the individual Construction Union members
on a piecemeal basis, paying the carpenters (and the Funds) for the work actually
performed, but having no obligation beyond the temporary work provided at the Power
Plant.

15. In mid-2013, Tom Allen, a salesman for Southwest, told his supervisors at
Southwest that the Construction Union gave him a document titled “Southwest Regional
Council of Carpenters ~ Carpenters Memorandum Agreement 2012-2016” (the

“Memorandum”), which the Construction Union wanted Allen to sign on Southwest’s

behalf.

CORE/3008422.0002/l30448125.l

 

 

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16. Because Tom Allen had no experience with such documents, had no
authority to sign such documents, and had never seen such documents, Allen asked his
supervisors for direction.

l7. Allen’s supervisors told him he did not have authority to enter such
contracts, and indeed Southwest would not agree to the Memorandum.

18. Southwest could not evaluate the issue further because the Memorandum
referenced several other documents that Southwest had never seen and did not have

access to.

19. In one version of the Memorandum signed by Allen, Allen identified
himself as a salesman: M.

20. In another version of the Memorandum signed by Allen, Allen identified
himself as a “local rep” :X§.\'J.\i\:\.\i_:._\_§$¢\_ll£l‘.

21. “Local Rep” is not a title Southwest uses or recognizes

22. Subsequent to Allen’s signing of the Memorandum, and still unaware that
Allen had signed the Memorandum, Southwest reiterated to Allen that he did not have
authority to bind Plaintiff by signing such contracts on Plaintiff’ s behalf.

23. Consistent with past practices, Southwest paid for all services rendered by
the union carpenters, including paying the plaintiff Funds.

24. The Funds’ demand by itself actually exceeds the value of all services
ever provided by the union carpenters for that time period.

25. During the time that Southwest used carpenters provided by the
Construction Union, neither the Construction Union nor the Funds ever brought to
Southwest’s attention any expectation that Southwest was liable for any of the payments
that Funds ultimately demanded as a result of the “audits.”

26. After the Funds made their demand for additional money, Southwest

immediately stopped hiring the union carpenters.

CORE/3008422.0002/130448125.l

 

 

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27. On information and beiief. all of Southwest`s anticipated party witnesses
reside in the Phoenix area: l"iarry Baker. Owner and President; Mike Madge, V.P» of
Operations; James Wilson, CI~`O; Scott Wiiliam Mi|ler, Ot`ficer; Michael Allen, Aaron
Blaha. 'l`homas Brennan, Ryan Bryant. Daniel Estrada. Gary Goss, I--larry Heiden.
Roben lacobi. 'l`racey Lay, Sam Mciendez, Scott Nelson. Gregory Rasko. Robert
Shearer. Bradley Bry‘an, Peter Francis. Curtis Ilowe, l.emanuel Jim, Paul Sewell.
Southwest employees identified by Plaintifi`s audit

28. On information and belief, Tom Allen resides in the Phoenix area

29. On information and belief. eight of the twenty-four union members
provided to Southwest by the Construction Union reside in Arizona.

30. ()n information and beliet", at the time he signed the Memorandum 'I`om
Allen was a Southwest employee living in Arizona Who did not travel to California to
negotiate or sign the Memorandum

31, Southwest never sought out Calif`omia workers from the Construction
l\inion --tlie union merely provided workers to Southwest based on availability

32, Attached as Exhibit A is a true and correct copy of` a letter dated June 4,
2015. which Southwest received from Carpenters Southwest Administrative
Corporation.

Pursuant to 28 l.)'.S.C. § 1746. l declare under penalty of perjury that the

foregoing is true and correct to the best of my knowledge

'$D-u;.,

Exi:<:nrm) this$i‘day ori\?rs{ch, 2016 in @h¢§~a 13 §§ , Arizona.

james l`)ouglas Wilson

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Carpenters Southwest Administrative Corporation.

AD“IN|STRATIVE OFF\CE: 533 S Ffamont Ave, v LOS Angei%, CA 90071-1706 ° Tel$ (213) 386-8590 ° T0|| Ff€€ (800) 293-1370
WWW.CGFPB|“€I’SSW.OI’§

'June 4, 2015

CERTIFIED MAIL
701 5-0640-0006~6056-2 l 01

Southwest Industriai Rigging
2802 West Palm Lane
Phoenix, AZ 85009

Dear Contributing Employer:

On several occasions over the last week, we have attempted to contact you for the
purpose of requesting additional records to complete the audit review. Such audits are
conducted pursuant to Article I, Paragraph 118 of the Carpenters’ Southern Ca.lifornia
Master Labor Agreement.

List of documents to complete the audit:

1) List of all jobs from 09/2013 - 12/31/2014 4) Payroll journals on a.ll jobs
2) Check register from 09/2013 ~ 1_2/31/2014 5) Copies of W2’s
3) Arizona State quarterly’s _

Since we have been unable to reach the contact person, please contact this office no later
than five business days from receipt of this letter for the purpose of establishing a
mutually convenient date, to provide the documents for the audit.

We request your cooperation. Failure to respond will result in this matter being referred
to the Trust Funds’ attorney.

 

cc: Audit File

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SOUTHWEST REG|ONAL COUNC|L OF CARPENTERS
CARPENTERS MEMORAN DUM AGREEMENT
2012-201 6

lt is agreed between the undersigned ("Contractor") and the Southwest Regional
Council of Carpenters, United Brotherhood of Carpenters and Joiners of America and its ~
affiliated lowl unions ln the 12 Southem Callfornia Countlesl namely, Los Angeles, Orange,
San Dlego, San Bemardlno, Riverside, lmperial, Ventura. Santa Barbara, San Luis Obispo,
Kem,'lnyo and Mono, and the States of Nevada, Arizona. Utah, New Mexico (and parts of
West Texas) and Colorado ("Carpenters' Unlon"), in consideration of services performed
and to be performed by Carpenters for the Contractor, as follows:

1. The Contractor agrees to comply with all the terms, Including wages, hours,
and working conditions and rules as set forth in the Agreement referred to as the Southem
California Carpenters Master Labor Agreement between United General Contractors
Association, lnc. (hereinafter the 'Assoclation") and the Southwest Regional Council of
Carpenters and lts afmlated Local Unions, United Brotherhood of Carpenters and Joiners
ofAmerlca, dated July 1 , 2012. as well as the appropriate Master Agreements covering the
States of Nevada, Arizona. Utah, New Mexico and West Texas, and Arizona. and any
extensions, renewals or subsequent Master Labor Agreements, and the Agreements
establishing: (1) the Southwest Carpenters Pension Trust, dated September14. 1959; (2)
the Southwest Carpenters Health & Welfara Trust, dated Feb`ruary 8, 1955; (3) the
~ Southwest Carpenters Tralning Fund, dated May 1. 1960; (4) the Southwest Carpenters
Vacetion Trust, dated April 1, 1962; (5) the Contract Admlnlstration Trust Fund for
Carpenters-Management Relations, dated October1, 1986; (6) the Construction lndustry
Cooperation Committee, dated October 1, 1986; (7) the Aooustica| lndustry Advancement
Fund; (8_) the Carpenters industry Advancement Fund of Southem Callfomia. dated
September 19, 1972; and (9) the lndependent Contractors Grievance and Arbltratlon Trust,
dated September 1, 1980; (10) the Southern Nevada Carpenters Annuity Fund; (hereafter
collectively referred to as the 'Carpenters Trust Funds") and any amendments,'
modifications extensions and renewals of such Agreements and the Trust Agreements and
any agreements establishing other benefits or plans negotiated by the Carpenters' Unions
and the Contractor Association signatory to such Master Labor Agreement. Except as
specifically excluded by this Memorandum Agreement, such Master Labor Agreements and
Trust Agreements are specifically incorporated by reference and made a part of this
Memorandum Agreement.

2. The Contractor agrees to pay the Carpenters Trust Funds the sums in the
amounts and manner provided forln the Master Labor Agreement and further agrees to be
' bound by the Trust Agreements and all amendments, modifications extensions and
renewals thereto. The Contractor agrees to make a contribution to the Carpenters’
lntematlonal Training Fund and to the UBC Labor Management Education and
Development Fund, as allocated by the Union from negotiated wage increases These
` contributions may be collected with the existing contributions to the Carpenters Health &

Welfare Trust, the Carpenters Apprenticeship Trust and/or the Carpenters Contractors

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Cooperation Committee, or other Carpenter funds. as allocated by the Union. The
Employer agrees to be bound to the Agreements and Declarations of Trust for the
international Funds as they exist and as they may be amended or restated, and to such
rules and regulations as adopted by the Trusts. Upon request the employer may receive
the latest annual report prepared for the Funds.

3. The Contractor agrees that he does irrevocably designate and appoint the
Employers mentioned in the Agreements establishing the various Carpenters Trust Funds
_ along with representatives designated by the United Generai Contractors, inc. and the

Residentiai Contractors Associatlon as his attomey-in-fact, for the selection, removal and
substitution of Trustees or Directors as provided by or pursuant to the Master Labor
Agreement and Trust Agreements and By-Laws.

4. The parties agree that the provisions of paragraphs 114 and 115 and 601 .6
and the provisions relating to Exlsting and Other Agreements (Article Xll) of the Master
Labor Agreement will be excluded from this Memorandum Agreement and will not be
binding upon the Contractor or the Carpenters' Unions.

5. There has been established under this Agreement and the Master Labor
Agreement. an independent Contractors Grievance and Arbitration Trust. The Contractor
and the Carpenters Union agree to submit all disputes including jurisdictional disputes
concerning the interpretation or application of this Agreement and the Master Labor
Agreement to arbitration underthls Section 5, and the Contractor and the Carpenters Union
agree that during the pendency of the grievance and arbitration procedure, the Carpenters'
Unions will not strike or withdraw services and the Contractor will not engage in a iockout;
provided, however. the Carpenters Union shall have the right to engage in a strike or
withdrawal of services and the Contractor may engage in a lockout on a claimed violation
of this Agreement or the Master Labor _Agreement relating to the payment of wages or 4
contributions to any Trust Fund referred to in this Agreement orfaiiure to comply with a final
and binding arbitration award,_ except as to any provision or arbitration award on
- subcontracting

6. The Contractor agrees that in the event the Contractor contracts or
subcontracts any carpenters work, and in the event that such subcontractor fails to pay the
wages or the fringe benefits provided under the Agreements between the subcontractor
and the Carpenters' Unions then the Contractor will become liable for the payment of such '
sums incurred by the subcontractor, and such sums will immediately become due and
payable by the Contractor. Such payments will be measured by the hours worked or paid
for by the employees of the subcontractor. The Trustees of the Trust Funds referred to in
the Master Labor Agreement and this Memorandum Agreement are expressly made third
party beneficiaries of the Contractors' promise to make such payments The Trustees of
the Trust Fund referred to in the Master Labor Agreement and this Memorandum
Agreement, will have the right to require any Contractor that is a party to this Memorandum
Agreement, to post a cash or surety bond in an amount sufficient to safeguard the payment
of Trust Fund Contributions that are required to be paid to the Trust Funds in accordance

with the Master Labor Agreement.

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7. Except as specifically excluded by this Memorandum Agreement, the
Carpenters Union and the Contractor agree to abide by ali the terms and conditions of the
Master Labor Agreement(s) and Trust Agreements and any amendments modifications
changes extensions and renewals including changes in wages benefits term, coverage,
geographic scope or any other changes to such agreements '

8. Preservation of Unit Work:

(a) in order to protect and preserve, for the employees covered by this
Agreement, all work heretofore performed by them. and in order to prevent any device or
subterfuge to avoid the protection and preservation of such work, it is hereby agreed as
follows: if and when the Contractor performs any on-slte construction work of the type
covered by this Agreement, under its own name or under the name of another, as a
corporation, company, partnership, or any other business entity, including a joint venture,
wherein the Contractor (including its officers directors owners partners or stockholders)
exercises either directly or indirectly (such as through family members) ownership,
` management or oontroi, the terms and conditions of this Agreement will be applicable to
ali such work.

(b) A|l charges of violations of Subsection (a) of this paragraph, will be
considered as a dispute under this Agreement and will be processed in accordance with
the procedures for the handling of grievances and the final binding resolution of disputes
as provided in this Agreement. As a remedy for violations of this paragraph the arbitrator
is empowered at the request of the Carpenters Union, to require an employer to (1) pay to
affected employees covered by this Agreement, including registered applicants for
empioyment, the equivalent of wages lost by such employees as a result of the violations
and (2) pay into the affected joint trust funds established under this Agreement any
delinquent contributions to such funds which have resulted from the violations Provisions
for this remedy does not make such remedy the exclusive remedy available to the
Carpenters Union for violations of this paragraph; nor does it make the same of other
remedies unavailable to the Carpenters Union for violation of this paragraph.

(c) |f. as a result of violations of this paragraph 8, it is necessary for the
Carpenters Union and/or the trustees of the joint trust funds to institute court action to
enforce an award rendered in accordance with subsection (b), or to defend an action which
seeks to vacate such award, the Contractor will pay any accountants' and attorneys' fees
incurred by the Carpenters Union and/or fund trustees plus cost of the litigation, which
_ have resulted from the bringing of such court action.

(d) if this paragraph 8 is declared to be unlawful, the parties will negotiate
similar language that will give the Carpenters Union equivalent protection.

9. The Contractor and the Carpenters Union expressly acknowledge that on the
Contracto r’s current jobsite work, the Carpenters Union has the support of a majority of the

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employees performing work covered by this Agreement. The Union has demanded and
the Contractor has recognized the Carpenters Union as the majority representative of its
employees performing work covered by this Agreement. lt is also acknowledged that the
Union has provided, or has offered to provide, evidence of its status as the majority
` representative of the Contractors employees By this acknowledgment the parties intend
to and are establishing a collective bargaining relationship under Section 9 of the Nationai
Labor Relations Act of 1947, as amended. The bargaining unit established by this
Agreement and the Master LaborAgreement is accepted by the parties as an appropriate
unit for collective bargaining purposes

10. Each individual Employer signatory hereto specifically waives any right that
he or lt may have to terminate, abrogate, repudiate or cancel this Agreement during its term
or during the term of any future modifications changes amendments supplements
extensions or renewals of or to said Master Labor Agreement, or to file any petition before
the Nationai Labor Relations Board seeking to accomplish such tenninatlon, abrogation,
cancellation or repudiation or to file a petition seeking clarification or redefinition of the
bargaining unit covered by this Agreement.

11. Notwithstandlng any provision of the Master Labor Agreement or this
Agreement. the individual employer agrees that upon a showing by the Union or any of its
affiliates a majority of the individual employers shop employees if any, have designated
the Union and/or any of its affiliates as their representative for collective bargaining
purposes the individual employer shall recognize the Union and/or its affiliates as the
collective bargaining representative of its shop employees and shall forthwith comply with
ali wages hours terms and conditions of the then current Store Fixture Agreement for the
\ term thereof. Proof of such majority representation shall be established by the submission
of authorization cards to a neutral third person who shali_compare the signatures with
appropriate employer records The individual employer shall fully cooperate in such review
upon demand by the Union or any of its affiliates '

12. The Contractor agrees that in the event it performs any work within the
jurisdiction of the United Brotherhood of Carpenters in the geographical jurisdiction of the
Southwestem Regiona| Councii of Carpenters (a|though subject to change it is currently
the States of Nevada, Arizona, Utah, New Mexico (and parts of West Texas), Coiorado and
12 Southem Caiifomia Counties) the Contractor shall perform ali such work pursuant to the
appropriate Carpenters Master Agreement for that area, including but not limited to the
hiring hall and subcontracting requirements contained in said Agreements

13. This Memorandum Agreement shall remain in full force and effect for the
period of the term of the Carpenters Master Labor Agreement between United Generai
Contractors Associat|on, l nc. (hereinafter the "Association") and the Southwest Regional
Council of Carpenters United Brotherhood of Carpenters and Joiners of America, dated
Juiy 1, 2012, and for the term of any successor Master Labor Agreement(s) and does
hereby authorize the Association to represent the Contractor. unless either party shall give
written notice by registered or certified mail to the other of desire to change or`canoei this

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Memorandum Agreement at least sixty (60) days but no earlier than ninety (90) days prior
to June 30, 2016, or if such notice is not glven, than at least sixty (60) days, but no earlier
than ninety (90) days prior to the termination date of a successor Master LaborAgreement.
Aii notices given by the Carpenters Union to the signatory Contractor Association to the
Master Labor Agreement shall constitute sufficient notice to the Contractor by the
Carpenters' Unions; provided, however, that a notice to the ContractorAssociation by either
party shall not constitute sufhcient notice of such intent not to be bound by a new
Agreement or renewal or extension of the Master Labor Agreement and Trust Agreements

Dated AQ~BX‘ i`§

CONTRACTOR:

Firm Name (Print Exactly as |_isted with Sta e Ll nse Board) State License No.

B;.\_MML

 

 

(Signature of €ontractor) ` (Prlnt name and title of person signing)
;BQS\\)A Qg§mlgmg Q\Qgg~,,; Bg= 3§0§3

Address Cityl State, Zip

weitz mims %eiiw§,.§»_itwse;i.tMo_

Phone Number Fax Number e-mai| address No. of Employees

Specific type of work you perform with your OWN work forces

 

Generai Contractor Suboontractor Both

SOUTHWEST REG|ONAL COUNC|L OF CARPENTERS
M|KE McCARRON, EXSCutive Secretary

BY:
Signature of Authorized Union Representative Print Name and Locai No.

Memoagmaz°tz
06-17-2012

 

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ARlZONA M|LLWRIGHTS
EFFECT|VE SEPTEMBER 1, 2012

` BENEFn's:

Penslon $3.66
Heaith & Welfare 5.45
VacationlSupplemental Dues 4.53 (Vacation $3.36; dues $1.17)
Annuity 2.00
prenticeshlp .gg* (inciudes Drug Testlng and industry Fund)
L CF .
Tota| to Carpenters Trusts $1635
AMEAP .25 (paid directly to AMEA)
Total Benefit Contributions $16'3§

Pension, Vacation and Annuity contributions are subject to the applicable overtime rates

 

an

NOTE: The vacation and supplemental dues contributions are to be added to the
employee's wages taxed and withheld and submitted to the Trust Funds.

The Apprenticeship contribution of $0.68 includes Apprenticeshlp ($0.53) and
contributions to the Miliwright Cooperation Committee -“Drug Testing' ($0.10) and the
UBC Miliwrights Labor-Management industry Promotion Fund ($0.0 )

Per Dlem at the rate of $45.00 per day will be will be paid to ali employees on an job
which is 51 miles or more from the City Ha|| of Phoenix, 200 W. Washington St. P oenix,
Arizona 85003 to the center of the jobsite.

_ Wage Re-openers September 1“ of 2013, 2014, 2015 and 2016

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